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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                                                   PLAINTIFF

Vs.                        CASE NO. 4:98cr00091-36 JMM

STEVE VINCENT NICHOLSON                                                  DEFENDANT


                                       ORDER

      Based on information from the United States Probation Office, the Order directing

the Clerk to issue a summons for the Defendant to appear for a hearing on the motion to

revoke supervised release (docket entry #1728) is rescinded.

      IT IS SO ORDERED this 19th day of April, 2006.




                                         UNITED STATES DISTRICT JUDGE
